                           UNITED STATES DISTRICT COURT
                              DISTRICT OF DELAWARE

 JOHN ADAMS,                                    )
                                                )
                       Plaintiff,               )
                                                )   Case No. 1:20-cv-01445-MN
        v.                                      )
                                                )
 MYOKARDIA, INC., SUNIL AGARWAL,                )
 MARY CRANSTON, TASSOS                          )
 GIANAKAKOS, DAVID MEEKER,                      )
 MARK PERRY, KIM POPOVITS, WENDY                )
 YARNO, BRISTOL-MYERS SQUIBB                    )
 COMPANY, and GOTHAM MERGER SUB                 )
 INC.,                                          )
                                                )
                       Defendants.              )

                 PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff hereby

voluntarily dismisses the above-captioned action (the “Action”). Defendants have filed neither an

answer nor a motion for summary judgment in the Action.

 Dated: December 3, 2020                            RIGRODSKY & LONG, P.A.

                                               By: /s/ Gina M. Serra
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